                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION

 Donald J. Trump, Candidate for President                       )
 of the United States of America,                               )
                                                                )
                                                                )
                Plaintiff,                                      )
                                                                )
 vs.                                                            ) Case No. 2:-20-cv-01785-BHL
                                                                )
                                                                )
 The Wisconsin Elections Commission, and its                    )
 members, Ann S. Jacobs, Mark L. Thomsen,                       )
 Marge Bostelman, Dean Knudson, Robert F.                       )
 Spindell, Jr., in their official capacities, Scott             )
 McDonell in his official capacity as the Dane                  )
 County Clerk, George L. Christenson in his                     )
 official capacity as the Milwaukee County Clerk,               )
 Julietta Henry in her official capacity as the                 )
 Milwaukee Election Director, Claire Woodall-                   )
 Vogg in her official capacity as the Executive                 )
 Director of the Milwaukee Election Commission,                 )
 Mayor Tom Barrett, Jim Owczarski, Mayor Satya                  )
 Rhodes-Conway, Maribeth Witzel-Behl, Mayor                     )
 Cory Mason, Tara Coolidge, Mayor John                          )
 Antaramian, Matt Krauter, Mayor Eric Genrich,                  )
 Kris Teske, in their official Capacities; Douglas J.           )
 La Follette, Wisconsin Secretary of State, in his              )
 official capacity, and Tony Evers, Governor of                 )
 Wisconsin, in his Official capacity.                           )
                                                                )
                                                                )
                Defendants.


       PLAINTIFF’S TENDER OF PROOFS OF SERVICE OF SUMMONSES ON
                              DEFENDANTS

       Plaintiff Donald J. Trump, by counsel, hereby tenders the Proofs of Service on all the

Defendants of the Summonses issued to each respective Defendant, along with the Complaint for

Expedited Declaratory and Injunctive Relief Pursuant to Article II of the United States

Constitution, and Plaintiff’s Motion for Expedited Declaratory and Injunctive Relief and For a
                                                 1

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Hearing on the Motion for Declaratory and Injunctive Relief, copies of which are attached

hereto.

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                                            Respectfully Submitted,

                                            KROGER, GARDIS & REGAS, LLP


                                            /s/ William Bock, III
                                            William Bock III, Indiana Attorney No. 14777-49
                                            James A. Knauer, Indiana Attorney No. 5436-49
                                            Kevin D. Koons, Indiana Attorney No. 27915-49

                                            ATTORNEYS FOR PLAINTIFF DONALD J. TRUMP

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111 Monument Circle, Suite 900
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Phone: (317) 692-9000



                                CERTIFICATE OF SERVICE

       A copy of the foregoing document was served upon all parties’ counsel of record via this
Court’s CM/ECF service on this 10th day of December, 2020.


                                            /s/ William Bock, III




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